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                                                                                             2019 Feb-14 PM 03:48
                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


IN RE:                                          Master File No. 2:13-CV-20000-RDP
BLUE CROSS BLUE SHIELD
ANTITRUST LITIGATION                            This Document Relates to
(MDL NO. 2406)                                  All Cases



    PROVIDER PLAINTIFFS’ SUBMISSION ON SCHEDULE AFTER
    THE ELEVENTH CIRCUIT’S DENIAL OF THE DEFENDANTS’
                     1292(b) PETITION
       The Provider Plaintiffs urge the Court to move the prioritized

proceedings in this case to resolution as expeditiously as possible. In an

effort to accomplish this goal, the Providers and Subscribers have worked

together to develop the efficient schedule that is contained in their joint

motion. By contrast, the Defendants have submitted a proposed schedule

that would result in this litigation continuing to be the “very long process”

that is their publicly stated desire. 1 The Court should reject their proposal.



1
  The statement issued by the Defendants after the ruling by the Eleventh Circuit was as
follows: “The decision not to accept our appeal at this time was not unexpected, as pre-
trial appeals are rare. This is another step in a very long process and we look forward to
continuing to defend our case in the U.S. District court. We remain confident that we
will ultimately prevail. . . .” J. Commins, “BCBS Antitrust Suit Appeal Rejected,”
Health Leaders (December 13, 2018). If the Defendants had revealed to this Court their
expectation that the appeal would not be accepted, instead of claiming that
“[c]ertification is even more appropriate here than in an ordinary case,” Doc. No. 2085-1
at 4, we doubt that the Court would have granted the motion, leading to the eight-month
delay that the Defendants created.

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      The fundamental problem with the Defendants’ proposal is that the

Defendants seek to depart from the approach in the Court’s prior scheduling

order that had merits reports and summary judgment proceeding while class

certification motions and reports were underway.          The Plaintiffs have

collectively proposed a schedule that would complete class certification and

expert reports, merits reports, and summary judgment by early 2020. A copy

of the Court’s most recently entered schedule is attached as Exhibit A for the

Court’s convenience.     The approach of the Plaintiffs’ proposal is to be

consistent with the Court’s prior schedule while using the efficiency benefits

of the Court’s per se ruling that the Eleventh Circuit has allowed to stand.

      Before discussing the specific proposals, it is important to understand

important considerations for the Provider Plaintiffs. Hospitals in the United

States are facing enormous financial problems. Just this week, one of the

class representative hospitals announced that it is closing, bringing the

number of hospitals that have closed in Alabama to 13 since 2011. See

Exhibit B, William Thornton, Another rural Alabama hospital closing,

AL.Com, (February 12,

2019), https://www.al.com/business/2019/02/another-rural-alabama-

hospital-closing.html; Exhibit C, WSFA Staff, Alabama to lose another rural

hospital, (February 12, 2019), http://www.wsfa.com/2019/02/11/alabama-



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lose-another-rural-hospital/. Hospitals in other states are also going out of

business in record numbers. A number of additional hospitals in Alabama

are in financial peril. Based on an Alabama Hospital Association survey, 88

percent of the rural hospitals were operating in the red”. See Exhibit D, John

Sharp, Avoiding ‘ghost town’: Saving Alabama’s rural hospitals becoming

a top campaign concern, (September 3,

2018), https://www.al.com/news/2018/09/avoiding_ghost_town_saving_ala.

html. A significant part of the problem for hospitals is the low

reimbursement paid by the local Blue, which is the largest commercial payor

in Alabama, and almost always the largest commercial payor throughout the

country. Because of the dire problems that hospitals face, it is crucial that at

least the hospital portion of the Provider Plaintiffs complete this litigation

including damages to get hospitals the relief this case can provide before

many more of them go out of business.

      With this background, the Plaintiffs have proposed that the class

certification motions and expert reports be filed on April 15, with the merits

expert reports following soon thereafter on May 15, and with one set of

expert depositions to follow efficiency reasons.       We have also included

another thirty day period for any rebuttal experts used by the Plaintiffs to be

deposed.



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        The Plaintiffs’ joint proposed schedule would have the Court ready to

hear class certification and summary judgment by next January. This

schedule would mean that the case could be ready for trial by 2nd quarter of

2020.

        By contrast, the Defendants have proposed a similar schedule 2 for

class certification with a delay until after a ruling on class certification, first

for merits expert reports some time well into 2020 after the ruling on class

certification, after still another round of depositions of expert depositions,

and then summary judgment motions, briefing and argument.                              The

Defendants are continuing their publicly avowed goal of making this

litigation “a very long process” and continuing their effort to make this case

as expensive and inefficient as possible in their on-going war of attrition.

The Court has already rejected this approach by the Defendants on at least

two occasions. It should do so again.

        The Court will note that in the Plaintiffs’ proposed schedule, the

Providers and Subscribers are taking a somewhat different approach to class

certification. The Subscribers are proposing a liability and injunctive relief

only trial in the first instance. The fact that the Providers are not taking the

same approach in the proposed schedule should not be taken in any way as

2
 If the Court adopts the Defendants’ approach, Plaintiffs ask that class certification begin
on March 29, 2019.

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criticism of bifurcation and/or issues certification.                 As stated above,

hospitals are in dire need of relief, and completing the entire trial

proceedings, including damages, expeditiously, is important for hospitals. 3

The Providers will continue to consider how bifurcation and issues

certification, perhaps along with requests for preliminary injunctive relief,

can be used to make this litigation proceed more efficiently.

       Finally, we also ask that the Court set a firm trial date for the class

trial. We recognize that the Court previously rejected our request to do so,

but we now have direction from the Eleventh Circuit. There is no better way

to encourage the parties to complete litigation than to set a trial date.

Dated: February 14, 2019                              Respectfully submitted,

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  At the Status Conference on January 15, 2019, the parties and the Court all agreed that
the production of data after 2015 would not impact class certification. However, there
will be a need to obtain necessary data after that time in advance of the trial. Therefore,
we will need to plan for the production of that data far enough in advance of the trial for
the experts to include it in their damage calculations. We plan to meet and confer with
Defendants on an appropriate schedule for those productions once the Court sets an
overall schedule.

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